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                            UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                  LYNCHBURG DIVISION

In Re:          KAREN MARIE FOSTER                           Case No. 12-60080

                Debtor                                       Chapter 13


JOHN L. WYNNE

                Movant,
v.

KAREN MARIE FOSTER

                Respondent
and

HERBERT L. BESKIN, Trustee

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

         Comes now, John L. Wynne, by counsel, and files this Motion for Relief from Automatic

Stay, and in support thereof states as follows:

         1.     This proceeding seeks relief under Section 362 of the U. S. Bankruptcy Code and

is a contested matter within the meaning of Rule 9014 and Rule 4001 of the Federal Rules of

Bankruptcy Procedure, and the Court has jurisdiction over this matter pursuant to

28 U.S.C. §157.

         2.     John L. Wynne and the debtor in this case, Karen M. Foster, are the parties in two

civil proceedings pending in the Circuit Court for the City of Lynchburg, VA as Case Nos.

CL10004795-00 and CL10005362-00. The litigation was initiated when Mr. Wynne filed an

unlawful detention action in the Lynchburg General District Court. After he was granted

judgment, Ms. Foster appealed to the Circuit Court and has posted bonds totaling $20,500.00.
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       3.      The suits arose from a loan made on August 23, 2006 by Mr. Wynne to

Ms. Foster which was evidenced by a $40,000.00 demand note and was secured by a second

deed of trust on real property then owned by Ms. Foster located at 2232 Ridgewood Drive,

Lynchburg, VA. Ms. Foster never made any payments under the note and Mr. Wynne

foreclosed. Ms. Foster filed suit seeking to enjoin the foreclosure sale but her suit was

dismissed. The foreclosure sale was conducted on September 25, 2008 at which Ms. Foster was

present. On October 16, 2008 a Trustee’s Deed conveying the property to Mr. Wynne was

executed and on October 21, 2008 was recorded in the Lynchburg Circuit Court Clerk’s office.

A copy of the October 16, 2008 Trustee’s Deed with recording receipt is attached hereto as

Exhibit A. On February 16, 2010 a Certificate and Affidavit of Satisfaction was recorded in the

Lynchburg Circuit Court Clerk’s office evidencing that the debt secured by the first deed of trust

in the face amount of $87,832.00 had been paid. A copy of the Certificate is attached as

Exhibit B. Mr. Wynne paid that debt. On January 18, 2011 an Amended Trustee’s Deed date

December 31, 2010 was recorded in the Lynchburg Circuit Court Clerk’s office, a copy of which

is attached as Exhibit C.

       4.      At a hearing held on January 9, 2012, Judge William N. Alexander ruled from the

bench that Mr. Wynne was the fee simple title owner to the premises commonly known as 2232

Ridgewood Drive, Lynchburg, VA, that Ms. Foster unlawfully withheld possession of the

property from Mr. Wynne and that Mr. Wynne was entitled to possession of the property, Judge

Alexander also directed Ms. Foster to deliver possession to Mr. Wynne without damage to the

premises. A court reporter was present at the hearing and a transcript was prepared. After the

hearing, Mr. Wynne’s counsel prepared an order for consideration by Judge Alexander. On




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January 11, 2012, as indicated on the order, Judge Alexander gave Ms. Foster’s counsel until

January 23, 2012 to review the transcript incorporated by reference into the order.

       5.       At the hearing on January 9, 2012, Judge Alexander also continued the matter on

the docket for trial by jury upon Mr. Wynne’s claim for damages for the unlawful detainer of the

property until January 11, 2012. A jury trial was held on January 11, 2012 on the issue of

damages and the jury rendered a verdict in favor of John L. Wynne in the amount of $29,328.00.

Also on January 11, 2012, Judge Alexander granted Ms. Foster’s motion to stay the writ of

possession for the property he had granted in favor of Mr. Wynne for ten days until January 23,

2012, setting the appeal bond at $125,000.00. On January 13, 2012, Mr. Wynne’s counsel

prepared an order in accordance with Judge Alexander’s instructions reflecting the jury’s

decision and mailed it to Ms. Foster’s counsel for review. A copy of counsel’s letter is attached

as Exhibit D.

       6.       The Debtor filed a pro se Chapter 13 Bankruptcy petition on January 13, 2012 to

open this case. The address she lists for herself is 2232 Ridgewood Drive, Lynchburg, VA,

which is the property that is the subject of the litigation pending in the Lynchburg Circuit Court.

She did not file any of the required bankruptcy schedules with her petition.

       7.       The Certificate of Notice filed by the Bankruptcy Noticing Center in this case

shows that the Notice of Chapter 13 Bankruptcy and Meeting of Creditors in this case were not

mailed until January 19, 2012.

       8.       On January 23, 2012, Judge Alexander signed an order setting out his rulings

made at the January 9, 2012 hearing, apparently without being notified that Ms. Foster had filed

her bankruptcy petition on January 13, 2012.




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       9.      On January 17, 2012 this Court entered an order directing Ms. Foster to file the

required bankruptcy schedules and statements by January 27, 2012, including Schedules A – J,

the Statement of Financial Affairs, and Form 22C.

       10.     On January 27, 2012, Ms. Foster filed some but not all of her required schedules.

On Schedule A, Ms. Foster lists the real property which was conveyed to Mr. Wynne by the

trustee’s deed in 2008 as being owned by her in fees simple. On Schedule D she shows a debt in

the amount of $40,000.00 owed to Mr. Wynne secured by a deed of trust. On Schedule F she

shows a debt owed to Mr. Wynne in the amount of $29,000.00. On Schedule I she states that she

has $1,050.00 of monthly income the source of which is “rental from house.” On Schedule J she

states that she pays rent or home mortgage payment of $1,000.00 per month. She did not file a

Statement of Financial Affairs. Nothing in the schedules which Ms. Foster filed referenced the

pending litigation with Mr. Wynne.

       11.     The Lynchburg Circuit Court has resolved all matters related to the ownership of

the real property and the legality of the foreclosure proceedings.

       WHEREFORE, John Wynne moves this Court to enter an order lifting the automatic stay

to permit him to proceed to obtain possession of the real property located at 2232 Ridgewood

Drive, Lynchburg, VA in accordance with Judge Alexander’s written order reciting his rulings

made at the January 9, 2012 hearing; to allow the bond posted by Ms. Foster on the appeal of the

judgment in favor of Mr. Wynne in the Lynchburg General District Court to be paid over to

Mr. Wynne by the Clerk of the Lynchburg Circuit Court; to allow Judge Alexander to enter a

written order in accord with the jury verdict rendered at the trial held on January 11, 2012; and

for such other and further relief as is appropriate.




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Dated: February 20, 2012                      John L. Wynne



                                          By: /s/ William F. Schneider
                                              William, F. Schneider, Esq.

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